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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:09CR9
                                                )
              Plaintiff,                        )
                                                )
              vs.                               )                     ORDER
                                                )
ADRIANA GARCIA-SILVA,                           )
                                                )
              Defendant.                        )

       This matter is before the Court on its own motion.

       The Court entered its order regarding the Magistrate Judge’s Report and

Recommendation prematurely, as the Magistrate Judge allowed the parties 10 days

following the filing of the transcript of the hearing on the motion to suppress to object to the

Report and Recommendation. The objections filed to the Report and Recommendation

(Filing No. 102) are timely. Therefore, the memorandum and order (Filing No. 100)

adopting the Report and Recommendation and the trial order (Filing No. 101) will be

vacated, this case will be removed from the trial list for August 11, 2009, and the Clerk is

directed to place the Report and Recommendation back on the Court’s pending motion list.

       IT IS ORDERED:

       1.     The memorandum and order (Filing No. 100) is vacated;

       2.     The trial order (Filing No. 101) is vacated; and

       3.     The Clerk is directed to place the Report and Recommendation (Filing No.

              93) back on the Court’s pending motion list.

       DATED this 6th day of August, 2009.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
